                       THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


PERKINS COIE LLP,

               Plaintiff,

         v.                                           Civil Action No. 25-0716 (BAH)

U.S. DEPARTMENT OF JUSTICE, et al.,

               Defendants.


                                    [Proposed] ORDER

         After consideration of Defendants’ Motion to Dismiss and for Expedited Judgment [ECF

No. ___], it is hereby ORDERED that the Motion is GRANTED and JUDGMENT is entered

in favor of Defendants.

         SO ORDERED.

Dated:


                                                  BERYL A. HOWELL
                                                  United States District Judge
